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5
     Attorneys for Plaintiffs
6

7                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF CALIFORNIA
8

9    UNITED AFRICAN-ASIAN                       Case #: 3:23-cv-02354-JES-VET
     ABILITIES CLUB, ON BEHALF OF
10
     ITSELF AND ITS MEMBERS;                    NOTICE OF VOLUNTARY
11   JAMES LEE, An Individual                   DISMISSAL WITH PREJUDICE OF
12
                                                ENTIRE ACTION AFTER
                         Plaintiffs,            SETTLEMENT
13

14         v.                                   [Fed. R. Civ. P. Rule 41(a)(1)]
15
     F & F PASEO L.P.; and DOES 1
16   THROUGH 10, Inclusive
17
                                Defendants
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28                                           Dismissal With Prejudice Of Entire Action
                                                         Case# 3:23-cv-02354-JES-VET
      Case 3:23-cv-02354-JES-VET Document 3 Filed 03/08/24 PageID.84 Page 2 of 4


1          IT IS HEREBY NOTICED by all the Plaintiffs, pursuant to Federal Rules of
2    Civil Procedure Rule 41 (a)(1), that all the Plaintiffs hereby dismiss WITH prejudice
3
     all Defendants and the present action in its entirety. The Parties to this action have
4
     settled this case in its entirety. Defendants have not filed an answer or a motion for
5
     summary judgment. Pursuant to FRCP and Ninth Circuit Court authority, Plaintiffs
6
     Notice of Voluntary Dismissal is effective immediately and does not require an Order
7
     from the court.
8

9

10   IT IS SO NOTICED.
11
     Dated: 03/08/2024                      Lightning Law, APC
12
                                            /S/_David C. Wakefield________________
13
                                            By: DAVID C. WAKEFIELD, ESQ.
14                                          Attorney for all Plaintiffs
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28                                            Dismissal With Prejudice Of Entire Action
                                                          Case# 3:23-cv-02354-JES-VET
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1                                     PROOF OF SERVICE
2    STATE OF CALIFORNIA, COUNTY OF SAN DIEGO
            I employed in the County of San Diego, State of California. I am over the age
3
     of 18 and not a party to the within action. My business address is 10620 Treena
4    Street, Suite 230, San Diego, CA 92131.
            On 03/08/2024, I served the documents described below on all interested
5
     parties in the attached service list by the method indicated below:
6

7
     1.  NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE OF
     ENTIRE ACTION AFTER SETTLEMENT
8

9

10
     ____ BY MAIL - I deposited such envelope in the mail at San Diego, California.
11        The envelope was mailed with postage thereon fully prepaid. I am “readily
12        familiar” with the firm’s practice of collection and processing correspondence
          for mailing. Under that practice it would be deposited with the U.S. Postal
13
          Service on that same day with postage thereon fully prepaid at San Diego,
14        California in the ordinary course of business. I am aware that on motion of the
          party served, service is presumed invalid if postal cancellation date or postage
15
          meter date is more than one (1) day after date of deposit for mailing in
16        affidavit.
17
     ____ BY PERSONAL SERVICE – I caused such envelope to be delivered by a
18        process server.
19
     ____ VIA FACSIMILE – I faxed said document, to the office(s) of the addressee(s)
20
          shown above, and the transmission was reported as complete and without error.
21
     XXXX____ BY ECF ELECTRONIC TRANSMISSION – I transmitted a PDF
22
         version of this document by electronic transmission to the party (s) identified
23       on the attached service list using the court supported ECF e-mail to the
24
         address(s) indicated.

25

26
     ____ BY OVERNIGHT DELIVERY – I deposited such envelope for collection
          and delivery by the Federal Express with delivery fees paid or provided for in
27                                                                                      3

28                                          Dismissal With Prejudice Of Entire Action
                                                        Case# 3:23-cv-02354-JES-VET
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1         accordance with ordinary business practices. I am “readily familiar” with the
2         firm’s practice of collection and processing packages for overnight delivery by
          Federal Express. They are deposited with a facility regularly maintained by
3
          Federal Express for receipt on the same day in the ordinary course of business.
4    ____ (State)      I declare under penalty of perjury under the laws of the State of
                       California that the above is true and correct.
5
     XX (Federal) I declare that I am employed in the office of a member of the
6                      bar of this Court at whose direction the service was made.
7
          At San Diego, California.

8                                   /s/David C. Wakefield_________
9
                                    DAVID C. WAKEFIELD
10

11                                    SERVICE LIST
12
      Jean M. Heinz, Esq
13    Heinz & Feinberg
      401 W. A Street, Ste. 1710
14
      San Diego, CA 92101
15    Tel: 619-238-5454 ; Fax: 619-238-0550
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      Email: jean@heinzfeinberg.com
      Attorney for Defendants
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28                                         Dismissal With Prejudice Of Entire Action
                                                       Case# 3:23-cv-02354-JES-VET
